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                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

                                                             §
    In re:                                                   §              Chapter 11
                                                             §
    SOUTHERN FOODS GROUP, LLC, et al. 1                      §              Case No. 19-36313 (DRJ)
                                                             §
                     Debtors.                                §              (Jointly Administered)
                                                             §

 OBJECTION OF THE STOP & SHOP SUPERMARKET COMPANY LLC AND FOOD
LION LLC TO MOTION OF DEBTORS FOR ENTRY OF ORDERS (I)(A) APPROVING
 BIDDING PROCEDURES FOR SALE OF DEBTORS’ ASSETS, (B) APPROVING THE
   DESIGNATION OF DAIRY FARMERS OF AMERICA, INC. AS THE STALKING
     HORSE BIDDER FOR SUBSTANTIALLY ALL OF DEBTORS’ ASSETS, (C)
 AUTHORIZING AND APPROVING ENTRY INTO THE STALKING HORSE ASSET
PURCHASE AGREEMENT, (D) APPROVING BID PROTECTIONS, (E) SCHEDULING
  AUCTION FOR, AND HEARING TO APPROVE, SALE OF DEBTORS’ ASSETS, (F)
 APPROVING FORM AND MANNER OF NOTICES OF SALE, AUCTION, AND SALE
  HEARING, (G) APPROVING ASSUMPTION AND ASSIGNMENT PROCEDURES,
    AND (H) GRANTING RELATED RELIEF AND (II)(A) APPROVING SALE OF
   DEBTORS’ ASSETS FREE AND CLEAR OF LIENS, CLAIMS, INTERESTS, AND
   ENCUMBRANCES, (B) AUTHORIZING ASSUMPTION AND ASSIGNMENT OF
        EXECUTORY CONTRACTS AND UNEXPIRED LEASES, AND (C)
                     GRANTING RELATED RELIEF
                        (Relates to Docket No. 925)




1
      The debtors and debtors in possession in these chapter 11 cases, along with the last four digits of their respective
      Employer Identification Numbers, are as follows: Southern Foods Group, LLC (1364); Dean Foods Company
      (9681); Alta-Dena Certified Dairy, LLC (1347); Berkeley Farms, LLC (8965); Cascade Equity Realty, LLC
      (3940); Country Fresh, LLC (6303); Dairy Information Systems Holdings, LLC (9144); Dairy Information
      Systems, LLC (0009); Dean Dairy Holdings, LLC (9188); Dean East II, LLC (9192); Dean East, LLC (8751);
      Dean Foods North Central, LLC (7858); Dean Foods of Wisconsin, LLC (2504); Dean Holding Company (8390);
      Dean Intellectual Property Services II, Inc. (3512); Dean International Holding Company (9785); Dean
      Management, LLC (7782); Dean Puerto Rico Holdings, LLC (6832); Dean Services, LLC (2168); Dean
      Transportation, Inc. (8896); Dean West II, LLC (9190); Dean West, LLC (8753); DFC Aviation Services, LLC
      (1600); DFC Energy Partners, LLC (3889); DFC Ventures, LLC (4213); DGI Ventures, Inc. (6766); DIPS
      Limited Partner II (7167); Franklin Holdings, Inc. (8114); Fresh Dairy Delivery, LLC (2314); Friendly’s Ice
      Cream Holdings Corp. (7609); Friendly’s Manufacturing and Retail, LLC (9828); Garelick Farms, LLC (3221);
      Mayfield Dairy Farms, LLC (3008); Midwest Ice Cream Company, LLC (0130); Model Dairy, LLC (7981);
      Reiter Dairy, LLC (3675); Sampson Ventures, LLC (7714); Shenandoah’s Pride, LLC (2858); Steve’s Ice Cream,
      LLC (6807); Suiza Dairy Group, LLC (2039); Tuscan/Lehigh Dairies, Inc. (6774); Uncle Matt’s Organic, Inc.
      (0079); and Verifine Dairy Products of Sheboygan, LLC (7200). The debtors’ mailing address is 2711 North
      Haskell Avenue, Suite 3400, Dallas, TX 75204.
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        The Stop & Shop Supermarket Company LLC (“Stop & Shop”) and Food Lion LLC

(“Food Lion” and collectively with Stop & Shop, the “Retailers”) hereby file this objection ( the

“Objection”) to the Motion of Debtors for Entry of Orders (I)(A) Approving Bidding Procedures

for Sale of Debtors’ Assets, (B) Approving the Designation of Dairy Farmers of America, Inc. as

the Stalking Horse Bidder for Substantially All of Debtors’ Assets, (C) Authorizing and Approving

Entry into the Stalking Horse Asset Purchase Agreement, (D) Approving Bid Protections, (E)

Scheduling Auction for, and Hearing to Approve, Sale of Debtors’ Assets, (F) Approving Form

and Manner of Notices of Sale, Auction, and Sale Hearing, (G) Approving Assumption and

Assignment Procedures, and (H) Granting Related Relief and (II)(A) Approving Sale of Debtors’

Assets Free and Clear of Liens, Claims, Interests, and Encumbrances, (B) Authorizing Assumption

and Assignment of Executory Contracts and Unexpired Leases, and (C) Granting Related Relief

(the “Bid Procedures Motion”) [Docket No. 925] and respectfully states as follows:

                                        PRELIMINARY STATEMENT

        1.       The Retailers request that the Court decline to approve the Bidding Procedures

without full, public disclosure of the per-Facility allocation of the Purchase Price in the Stalking

Horse Agreement. 2 As has been previously raised in this case and acknowledged by the Court,

DFA has huge market power in the dairy industry, and its acquisition of the Debtors’ assets raises

antitrust concerns. 3 The Retailers, as the owners of supermarket chains in New England, the Mid-

Atlantic and Southeastern United States, are particularly concerned about the competition-

destroying effects of DFA’s acquisition of the Debtors’ assets.




2
    Capitalized terms not defined here have the meaning ascribed to them in the Bid Procedures Motion.
3
    First Day H’rg Tr. 21:24-22:2, 64:16-65:20 (Nov. 13, 2019) [Docket No. 270].

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        2.      While it is unknown at this time whether DFA’s acquisition will pass muster under

Antitrust Laws, it is possible that DFA may be forced to remove certain Facilities from the

proposed acquisition in order to obtain antitrust approval. An allocation of the purchase price per

Facility in the Stalking Horse Agreement will allow the Debtors and other parties in interest to

quickly and efficiently evaluate alternative bids for those assets without having to conduct any

remarketing process. This will produce substantial savings for the Debtors estates and promote

the speedy resolution of Antitrust Law matters that may arise.

        3.      In addition to the foregoing concerns about the anti-competitive nature of DFA’s

bid, the Retailers object to the Bidding Procedures’ failure to allocate DFA’s bid over each of the

Facilities. Each of the Facilities is, effectively, a stand-alone facility that can be sold individually.

Numerous regional dairy producers and processers would be capable of bidding on a subset of the

Facilities, thereby increasing the likelihood of a fulsome sale process. As a result, this is a case in

which the value of all the individual sales may exceed the global bid proposed by DFA. The

Retailers object to the Bidding Procedures as having a chilling effect on the bidding for the

Debtors’ assets and not being tailored to maximize the value to be obtained from this sale.

Therefore, the Bidding Procedures should not be approved in this form because they are not in in

the best interests of the Debtors’ estates.

                                              BACKGROUND

        4.      Stop & Shop and Food Lion collectively own and operate over 1,400 supermarkets

in New England, the Mid-Atlantic and the Southeastern United States. In the ordinary course of

their business, the Retailers purchase processed milk and other dairy products directly from the

Debtors and DFA for retail sale at certain of its supermarket stores.

        5.      On November 12, 2019 (the “Petition Date”) each of the Debtors filed a voluntary

petition for relief under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”)
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in the United States Bankruptcy Court for the Southern District of Texas (the “Court”). On

February 17, 2020, the Debtors filed the Bid Procedures Motion [Docket No. 925] and the Stalking

Horse Agreement [Docket No. 935].

                                                 OBJECTION

         6.         The Retailers have significant concerns that DFA’s acquisition of the Debtors’

assets will result in a monopoly for raw milk in various markets and an unreasonable restraint of

trade in violation of Antitrust Laws. The Debtors are already “the largest processor and direct-to-

store distributor of fresh fluid milk and other dairy and dairy case products in the United States.”4

DFA is the largest single milk supplier to the Debtors and the largest milk cooperative in the

country. 5        DFA also already operates many milk processing and distribution facilities.                 A

combination of the Debtors and DFA will result in a company that is both the largest milk supplier

and the largest milk distributor in the country.

         7.         Section 7 of the Clayton Act provides that “no person subject to the jurisdiction of

the Federal Trade Commission shall acquire the whole or any part of the assets of another person

engaged also in commerce . . . where in any line of commerce or in any activity affecting commerce

in any section of the country, the effect of such acquisition may be substantially to lessen

competition, or to tend to create a monopoly.” 6               This provision applies to asset sales in

bankruptcy. 7 The Retailers contend that DFA’s acquisition of the Stalking Horse Assets may

violate this section of the Clayton Act or other Antitrust Laws due to the reduction in competition



4
    Decl. of Gary Rahlfs in Support of Debtors’ Chapter 11 Proceedings and First Day Pleadings (Rahlfs Decl.)
    [Docket No. 46] ¶ 8.
5
    Id. at ¶ 5.
6
    15 U.S.C. § 18.
7
    See, e.g., In re AMR Corp., 527 B.R. 874, 882 (Bankr. S.D.N.Y. 2015) (addressing Section 7 of the Clayton Act
    with respect to a merger in bankruptcy).

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in the fluid milk and ice cream market caused by the combination of the Debtors and DFA’s

businesses. 8

        8.       For example, both the Debtors and DFA have a history of anticompetitive behavior

in the Southeastern United States. See In re Southeast Milk Antitrust Litig., 08-MD-100 (E.D.

Tenn.). As a result of this conduct, the Debtors already dominate the Southeastern United States

fluid milk and ice cream market where Food Lion owns and operates its supermarkets. In some

instances, the Debtors are now the only viable source of processed milk for Food Lion’s stores.

Further consolidation of the market through a combination with DFA would only serve to increase

the monopoly power of DFA/Dean and allow it to significantly raise the costs of its rivals, thereby

reducing competition in the marketplace. This will inevitably result in higher prices and be subject

to intense antitrust scrutiny by the U.S. Department of Justice and other interested parties.

        9.       If the Retailers’ contentions are correct, DFA may be forced to remove certain of

the Facilities from the Stalking Horse Assets to comply with applicable Antitrust Law. If so, the

Debtors may need to resolicit bids for whatever Facilities or other Stalking Horse Assets DFA will

be required to remove from the sale. In that event, having the per-Facility purchase price allocation

of the Stalking Horse Bid available and public means that the Debtors and other parties in interest

will be able to compare different bids based solely on the Facilities DFA is required to remove

without having to re-run the entire bidding process. This will provide significant savings to the

Debtors’ estates and speed the resolution of antitrust matters related to the sale.

        10.      Further, section 2(b) of the Bidding Procedures provides that a competing bid will

only be considered if it “allocates the Bid consideration among the Bid Assets and Contracts and



8
    DFA’s purchase of the Debtors’ assets may also violate other provisions of Antitrust Law. This example is
    provided purely for illustrative purposes, and the Retailers reserve all rights with respect to any claims they may
    have under applicable law.

                                                          5
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Leases to be assumed on a per Facility basis.” 9 Thus, while bidders other than the Stalking Horse

Bidder are required to allocate their Bid Consideration on a per-Facility basis, there is no

requirement that the Stalking Horse Bid provide such an allocation. This makes it difficult to

compare, “apples to apples,” the Stalking Horse Bid with other bids, and indeed, may result a

chilling effect on the sale process.

                                           CONCLUSION

        11.      For the reasons stated above, the Court should not approve the Bidding Procedures

unless the Stalking Horse Bidder publicly discloses the per-Facility purchase price allocation of

the consideration in the Stalking Horse Bid.

Dated: March 9, 2020
       Houston, Texas                          HUNTON ANDREWS KURTH, LLP


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                                               Company LLC and Food Lion LLC


9
    Bid Procedures § 2(b).

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                                   CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on March 9, 2020, a true and correct copy of the
foregoing document was served via the Court’s CM/ECF notification system on the parties
registered to receive electronic notices in this case.

                                             By:    /s/ Timothy A. (“Tad”) Davidson II
                                                    Timothy A. (“Tad”) Davidson II
